     Case 2:20-cv-00112-PLM-MV ECF No. 8 filed 10/16/20 PageID.49 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION
                                        ______

JUIVONNE LITTLEJOHN,

                     Plaintiff,                     Case No. 2:20-cv-112

v.                                                  Honorable Paul L. Maloney

GRETCHEN WHITMER et al.,

                     Defendants.
____________________________/

                                         JUDGMENT

              In accordance with the order issued this date:

              IT IS ORDERED that Plaintiff’s action is DISMISSED WITHOUT

PREJUDICE for lack of prosecution and failure to comply with the Court’s order.



Dated:    October 16, 2020                          /s/ Paul L. Maloney
                                                    Paul L. Maloney
                                                    United States District Judge
